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 9                               UNITED STATES DISTRICT COURT

10                              EASTERN DISTRICT OF CALIFORNIA

11                                         FRESNO DIVISION

12
     GERALD CARLIN, JOHN RAHM, PAUL                   Case No. 1:09-cv-00430-AWI-EPG
13   ROZWADOWSKI and DIANA WOLFE,
     individually and on behalf of themselves and     CLASS ACTION
14   all others similarly situated,
                                                      STIPULATION AND ORDER RE
15                                    Plaintiffs,     STAYING DISCOVERY AND CLASS
                                                      CERTIFICATION DISCOVERY
16   v.                                               DEADLINE

17   DAIRYAMERICA, INC.,

18                                    Defendant.

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28    [No. 1:09 CV 00430-AWI-EPG] STIPULATION AND ORDER RE STAYING DISCOVERY AND CLASS
      CERTIFICATION DISCOVERY DEADLINE
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 1           On this 9th day of November 2015, the parties having so stipulated;

 2           WHEREAS, the current Scheduling Order provides that class certification-related

 3    discovery shall be completed by December 14, 2014;

 4           WHEREAS, on September 25, 2015, Plaintiffs filed leave to amend the complaint to add

 5    new parties and claims, which motion was opposed;

 6           WHEREAS, Plaintiffs’ motion has not yet been ruled upon;

 7           WHEREAS, the substance, timing and participants in various currently-noticed

 8    upcoming depositions may vary depending upon the resolution of the pending motion and

 9    proceeding with those depositions before resolution of the pending motion may cause confusion

10    and potentially the need for witnesses to be re-deposed; and

11           WHEREAS, the parties, having met and conferred, believe the case would be best served

12    with a stay of all discovery and the class certification discovery deadline pending a ruling on

13    Plaintiffs’ Motion For Leave To Amend Complaint (ECF No. 220);

14           IT IS STIPULATED as follows:

15    1.     Class Certification Discovery Cut-Off and Briefing Deadlines.

16           (a)     The deadline for class certification discovery (and associated deadlines for

17    briefing class certification) shall be stayed until entry of an Order on Plaintiffs’ Motion For

18    Leave To Amend Complaint (ECF No. 220).
19           (b)     Within fourteen days of entry of such Order, the parties shall submit to the Court

20    a Status Report and a Proposed Amended Scheduling Order.

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      2.     Discovery Pending the Order on Plaintiffs’ Motion For Leave to Amend
22           Complaint.
23           In the interest of judicial economy and efficiency, all discovery (including depositions

24    of entities that plaintiffs’ have proposed be added as parties) in the case will be stayed until the

25    Court enters an Order on Plaintiffs’ Motion for Leave to Amend Complaint. The parties may

26    continue to meet and confer on existing pending discovery.
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 1    DATED: November 9, 2015         Respectfully submitted,

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 3

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11                                    Counsel for Plaintiffs and the Proposed Class

12    Dated: November 9, 2015         DAVIS WRIGHT TREMAINE LLP

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 7    IT IS SO ORDERED.
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      Dated:   November 12, 2015
 9                                          SENIOR DISTRICT JUDGE

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28    [No. 1:09 CV 00430-AWI-EPG] STIPULATION AND ORDER RE STAYING DISCOVERY AND CLASS
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